  Case 2:12-md-02327 Document 4220-1 Filed 07/21/17 Page 1 of 3 PageID #: 144126
                                EXHIBIT A


  Civil Action
                                                      Case
   Number

2:12-cv-02027    Gullett et al v. Johnson & Johnson et al


2:12-cv-02134    Elaine Anderson v. Johnson & Johnson, Inc. et al

2:12-cv-02191    Angelia M. & Manuel M. Ramirez v. Johnson & Johnson, et al.

2:12-cv-02192    Mary Frances & Joseph L. Richard v. Johnson & Johnson, et al.
2:12-cv-02193    Dawn & David Sequino v. Johnson & Johnson, et al.

2:12-cv-02198    Mary & Jeffrey Ward v. Johnson & Johnson, et al.

2:12-cv-02199    Leslie Warner v. Johnson & Johnson, et al.

2:12-cv-02200    Judy Haddon v. Johnson & Johnson, et al.
2:12-cv-02251    Kathy & Joseph Birt v. Ethicon, et al

2:12-cv-02257    Patricia & Martin, Jr. Kuks v. Ethicon, et al

2:12-cv-02264    Charlotte A. & Troy Day v. Ethicon, et al

2:12-cv-02283    Linda G. Braden & Greg Combs v. Johnson & Johnson, et al.

2:12-cv-02315    Karen Conley v. Ethicon, et al
2:12-cv-02316    Helen Harper v. Ethicon, et al
2:12-cv-02374    Helen Van Wyck Johnson & Johnson, et al.
2:12-cv-02412    Bonnie & Calvin Huggins v. Ethicon, et al
2:12-cv-02414    Norma & Larry Carroll v. Johnson & Johnson, et al.
2:12-cv-02424    Kimberly Stevens v. Johnson & Johnson, et al.

2:12-cv-02446    Cynthia & Raymond, Sr. Falcon v. Ethicon, et al

2:12-cv-02448    Melissa Mincey v. Ethicon, et al

2:12-cv-02478    Donna & Earl Matthews v. Johnson & Johnson, et al.

2:12-cv-02485    Donna Murphy v. Johnson & Johnson, et al.

2:12-cv-02489    Joanne Phillips v. Johnson & Johnson, et al.
2:12-cv-02512    Linda Madding v. Ethicon, et al
2:12-cv-02532    Rhonda Cooper v. Ethicon, et al
  Case 2:12-md-02327 Document 4220-1 Filed 07/21/17 Page 2 of 3 PageID #: 144127



  Civil Action
                                                      Case
   Number


2:12-cv-02565    Patsy & Howard Mays v. Johnson & Johnson, et al
2:12-cv-02581    Anita Fisher v. Johnson & Johnson, et al
2:12-cv-02584    Trina Hill v. Ethicon, et al

2:12-cv-02633    Kandy P. & Rick Dotson v. Johnson & Johnson, et al


2:12-cv-02634    Ila Cosgray v. Johnson & Johnson, et al
2:12-cv-02642    Tabitha Williamson v. Johnson & Johnson, et al
2:12-cv-02657    Lori & Duane Morse v. Johnson & Johnson, et al
2:12-cv-02662    Joyce & William Thomas v. Johnson & Johnson, et al

2:12-cv-02663    Debbie & Charles Tomlinson v. Johnson & Johnson, et al

2:12-cv-02672    Deborah & Steven Ray, Jr. Young v. Johnson & Johnson, et al
2:12-cv-02687    Kathleen & Glennon Toennies v. Ethicon, et al
2:12-cv-02688    Victoria Soltanshahi v. Ethicon, et al
2:12-cv-02689    Karen A. & Thomas F. Lyszcarz v. Ethicon, et al
2:12-cv-02690    Barbara Lawyer-Johnson v. Ethicon, et al

2:12-cv-02716    Brenda Simpson v. Johnson & Johnson, et al
2:12-cv-02741    Sara & Terrance Bell v. Ethicon, et al
2:12-cv-02742    Jennifer & Hilario Aguilar v. Ethicon, et al

2:12-cv-02797    Susan & Hubert Jones v. Ethicon, et al
2:12-cv-02799    Susan Clones v. Ethicon, et al
2:12-cv-02802    Kathy Robertson v. Ethicon, et al
2:12-cv-02805    Donna & Joe Moosman v. Ethicon, et al
2:12-cv-02829    Kimberly Hill v. Ethicon, et al
2:12-cv-02865    Mattie J. Brooks v. Johnson & Johnson, et al
2:12-cv-02879    Lisa A. Russell v. Ethicon, et al

2:12-cv-02921    Susan D. Bartley v. Ethicon, et al

2:12-cv-02934    Dawn Cordea Cullipher v. Johnson & Johnson, et al

2:12-cv-02943    Kathy Blake v. Johnson & Johnson, et al

2:12-cv-02951    Brenda J. & Barry Wooden v. Johnson & Johnson, et al
  Case 2:12-md-02327 Document 4220-1 Filed 07/21/17 Page 3 of 3 PageID #: 144128



  Civil Action
                                                    Case
   Number
2:12-cv-02955    Anne M. Currie v. Johnson & Johnson, et al

2:12-cv-02956    Audrey & Theron Smallridge v. Johnson & Johnson, et al

2:12-cv-02959    Jamie & Steven Rutherford v. Ethicon, et al

2:12-cv-02971    Janice & Don Fields v. Johnson & Johnson, et al

2:12-cv-02975    Grethel Taylor v. Johnson & Johnson, et al
2:12-cv-02989    Shannon L. Smith v. Ethicon, et al
2:12-cv-02991    Susan & Simon Thomas Grizzle v. Ethicon, et al
2:12-cv-02994    Vicki & Randall Trammell v. Ethicon, et al
2:12-cv-02999    Mary Allmon v. Ethicon, et al

2:12-cv-03013    Deborah & Robert Kissel v. Johnson & Johnson, et al
2:12-cv-03074    April & Danny Berry v. Ethicon, et al
2:12-cv-03076    Stephanie & Davin Booher v. Ethicon, et al
2:12-cv-03078    Araceli Baez v. Ethicon, et al

2:12-cv-03085    Mary Diana Book v. Ethicon, et al
2:12-cv-03091    Shirlene Franklin v. Ethicon, et al
2:12-cv-03097    Deborah & Tony Mattingly v. Ethicon, et al
2:12-cv-03108    Melissa Moore v. Ethicon, et al
2:12-cv-03118    Carol Noffsinger v. Johnson & Johnson, et al
2:12-cv-03119    Glenna T. Hensley v. Ethicon, et al
2:12-cv-03122    Kimberly & Glen A. Martello v. Ethicon, et al
2:12-cv-03123    Tammy Webb-Henson v. Ethicon, et al
2:12-cv-03124    Katherine & Henry, II Smallwood v. Ethicon, et al
2:12-cv-03129    Kelly L. & John D. White v. Ethicon, et al
2:12-cv-03131    Sara Camille Jones v. Ethicon, et al
2:12-cv-03136    Christine & Joseph Webb v. Ethicon, et al

2:12-cv-03145    Tracy & Kevin Woosley v. Johnson & Johnson, et al
2:12-cv-03162    Joann S. Bradley v. Ethicon, et al

2:12-cv-03163    Geraldean Gaylor v. Johnson & Johnson, et al
2:12-cv-03166    Christine Walker v. Ethicon, et al
